

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-68,004-01






EX PARTE RANDALL ROBERT LIBERTO, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 20383-HC-1 IN THE 6TH JUDICIAL DISTRICT COURT


FROM LAMAR COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the clerk of
the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte Young, 418
S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of a controlled
substance and sentenced to life imprisonment.  The Sixth Court of Appeals affirmed his conviction.  Liberto
v. State, No. 06-05-00122-CR (Tex. App. - Texarkana, June 13, 2003, no pet.)

	Applicant contends, inter alia, that his trial counsel rendered ineffective assistance because counsel
failed to investigate, failed to subpoena defense witnesses, failed to object to improper comments by the
prosecutor, allowed Applicant to be removed from the courtroom in handcuffs in front of potential jurors,
failed to strike potential jurors after learning that they had been discussing the case and had decided that
Applicant "looked guilty," and failed to present a defense.  The habeas record does not contain an affidavit
from counsel or findings of fact from the trial court.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington, 466
U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court shall
provide Applicant's trial counsel with the opportunity to respond to Applicant's claim of ineffective
assistance of counsel.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07,
§ 3(d).  In the appropriate case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an attorney to
represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's trial attorney
was deficient and, if so, whether counsel's deficient performance prejudiced Applicant.  The trial court shall
also make any other findings of fact and conclusions of law that it deems relevant and appropriate to the
disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The issues
shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the order granting
the continuance shall be sent to this Court. A supplemental transcript containing all affidavits and
interrogatories or the transcription of the court reporter's notes from any hearing or deposition, along with
the trial court's supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order.  Any extensions of time shall be obtained from this Court. 




Filed: August 22, 2007

Do not publish


